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                      EXHIBIT "A"
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                                                                         Gina West
                                                                         7205 Harlow St
                                                                         Las Vegas, NV 89131
                                                                         (480) 246-6819




     To Whom it May Concern:


     I was asked to write a character reference letter for my nephew Kenneth Miksch.

     I would like to start by saying that Kenny is the sweetest, kindest, most loving person ever. He
     is shy, naive and trusting. He would never intentionally do anything that would hurt or make
     someone feel bad in any way.

     In her defense, his mother Rebecca Miksch is very much the same way. And she raised her
     boys in a very protective and sheltered home. Trying to keep them safe from any harm that they
     may nd out in the world. She taught them to be kind and helpful when ever possible. And
     Kenny is just that.

      Kenny takes everyone at their word and trusts that they are telling him the truth. He is honest
     to a fault. He has a conscience that will not allow him lie or deceive. If you ever need anything
     he will drop what he’s doing and go out of his way to help with what ever tasks he is given.

     I know I’m his Aunt and you might think I’m bias. But in this case, this is all true about Kenny.
     He’s a great kid and would never do anything to get into trouble. In fact I don’t think he’s ever
     been in any kind of trouble. Never with the police, not at school and seldom with his parents.
     He’s kind and respectful.

     I know he feels absolutely horrible about all this trouble he has gotten involved with. He is
     scared and regretful for trusting the wrong people.

     I hope you will believe me when I say that Kenny didn’t get involved with these people knowing
     what they were involved in. He believed they had his best interest at heart and thought they
     were cops trying to educate him on gun safety. Kenny wanted to be a Navy Seal to help
     people. And believed these guys when they said they were cops. He thought who better to
     learn about guns and such than from cops. He thought he was being careful.

     Thank you

     Gina West
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Ivanna Ojeda
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East Palo Alto, CA 94303
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Dear Judge,

My name is Ivanna. I’ve been dating Kenny Miksch for 5 years, come this June and I’ve known
him for just as long, if not a couple months more than 5 years. We met while we were in high
school and I know him very well.
         Kenny has always been the first and only person I’ve depended on for everything in my
life since I’ve known him. If there’s ever something that happened, something I can’t solve, or I
have an idea of something I want to try, he’s always there. Whether that be at 4AM listening to
me in a random Denny’s, or with a collection of tools he bought online because he learned
they’re helpful for what I want to do. He’s my biggest supporter but will always tell me the truth
when something doesn’t sound like a good idea. Through everything, he’s always been the kind
of person to always want to be there and be helpful, no matter the effort or time. He’s incredibly
intelligent and has a mind I even envy sometimes. He just has a way of looking at things and
being able to just know what to do, unlike anyone I’ve met. Where I can be lazy, he just makes
up for it with this mind that’s always working and wants to do all these things and excel at every
single little thing, whether that’s professionally with welding, or recreationally with his hiking,
rock climbing, running, etc.
         Even though he can come across stoic and serious sometimes, he really has the biggest
and kindest heart out of anyone I’ve met. I still remember a time when we were on a date and on
our way home, coming down a mountain, we spotted a random person struggling with his truck
that was on the edge, almost tilting over and without hesitation, he stopped and helped tow his
truck out of the edge it was stuck in. With friends he’s met motorcycling, he was just the same.
Always offering help with them, whether it be maintenance or riding in general. He never
hesitates, or wonders if it’s too much work for him, or holds favors and kind gestures as
something to owe him for. He’ll go as far as to lend expensive equipment to friends and not ask
for it back, even though it’s been months. His kindness really shows the most with his family.
His family relies heavily on him, especially since his dad’s medical conditions have gotten worse
and he’s not able to work, or do a lot of the housework as he once did. Kenny always makes the
time to help as much as he can, even when pulling long shifts, where I would think someone
would even be too exhausted to do more, he’ll still make the last-minute trips to CVS or Home
Depot, as needed.
         His kindness, loyalty, ambition, and reliability are only a couple of the reasons as to why
I fell in love with him to begin with. I’m not the most dependable, best person to be patient with,
maybe not even the kindest person to deal with most of the time, and yet he’s always remained
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constant and patient with me every step of the way without complaint. I don’t know where, or
what kind of person I’d be without him. We have grown so much as individuals and as a couple
in the past five years alone and I plan to continue to do so til we’re stuck in a retirement home
somewhere. I understand what he did and I know he has to face the consequences of his actions,
I do, I respect that, but in the one week he was incarcerated from when the FBI took him alone,
his family and I broke in a way that I wouldn’t wish on my worst enemy. I respectfully plead for
leniency on his sentencing, please.


Signed,

       Ivanna Ojeda
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